 

Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 1 of 24

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA :
Plaintiff,
NO. 3 CR 19-208
Vv.

WILLIAM L. COURTRIGHT : JUDGE MANNION

Defendant.

 

DEFENDANT WILLIAM L. COURTRIGHT’S
SENTENCING MEMORANDUM

 

1.
William L. Courtright is a sixty- two (62) year old, lifelong Scranton
resident, long-time Scranton businessowner, self-starter politician, accomplished
martial arts teacher, and devoted father of three highly educated and successful
adult children: William Courtright Esq., Dr. Patrick Courtright, Lindsey Jones; two
grandsons, and one newborn granddaughter. Mr. Courtright is married to Mary
Courtright. The couple has been married for thirty-seven (37) years. Additionally,
Mr. Courtright enjoys a close and supportive relationship with his mother,
Roseanne Courtright, age eighty-five (85), and his three (3) siblings, Charlotte
Franco, age sixty-five (65); Robert Courtright age fifty-nine (59); and Barbara

: \Shaughnessy age fifty-seven (57). Mrs. Shaughnessy, a technology manager for

1

 

 
Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 2 of 24

the CIA praised her brother, describing him as a “good man of good character
[who] did an amazing job raising his children.”

In his early career, Mr. Courtright maintained modest managerial
employment, and sole proprietorship of a karate school as well as a tactical defense
and police instructor at Lackawanna Community College.' He then entered local
government as a Scranton city councilman. Mr. Courtright successfully served as
a Scranton city councilman for six (6) years.

During his tenure, Mr. Courtright became the first Scranton resident
appointed to the Pennsylvania Municipal Police Officers Education and Training
Commission. Thereafter, city council appointed Mr. Courtright as the chairman of
public safety, upon which District Justice Kennedy remarked: “This is prestigious.
And most law enforcement that I talk to and I talk to a lot of them, a lot of them are
thrilled to have this guy in this position. It's a prestigious position.” (Minutes
Scranton City Council Meeting December 4, 2004).”

In 2006, Mr. Courtright became the Vice-President of city council
continuing to serve as chairperson of public safety as well as chairperson of boards
and commissions. In 2007, Mr. Courtright pushed city council to approve the

purchase of additional police and detective vehicle/cruisers. Subsequently, after

 

Mr. Courtright provided instruction to police officers in excess of twenty (20)
years.
? http://www.scrantonpa.gov/council_agendas/12_02_04.html

2
 

Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 3 of 24

serving exemplary terms, Mr. Courtright resigned as a city councilman in January
2010. Accordingly, Mr. Courtright sought the position of Scranton’s tax collector.
His campaign assured improvements in the single tax office. Scranton residents
responded by electing Mr. Courtright as the city tax collector. He served as the
city tax collector for four (4) years, managing a staff of eighteen (18) employees
without incident. Under Mr. Courtright’s oversight, the single tax office garnered
additional revenue for the Scranton School District and the city’s deficit through
undisbursed funds. An audit performed in 2010 and completed in 2012 revealed
“few flaws in office operations,” with none of the flaws related to misstatements of
financial information?

In 2013, lauded for “moving the city forward,” as the favored candidate of
city workers and their families, city residents elected Mr. Courtright as the mayor
of Scranton. Mr. Courtright entered office in January 2014 facing a $20 million
deficit and $28 million in financing to pay a public safety arbitration award, and
fund pension system increases.* In fact, when Mr. Courtright entered office,
Scranton began fiscal year 2014 with a zero cash balance “creating significant

pperational strain,” under the threat of default or bankruptcy.> Tasked with closing

 

* https://www. pressreader.com/usa/the-times-tribune/20130424/2827 1 1929520967
? http://www.thetimes-tribune.com/news/fresh-from-big-win-scranton-mayor-elect-
bill-courtright-enters-transition-phase-1 1581721

S https://www. bondbuyer.com/news/moodys-scranton-pa-could-default

 

3

 
Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 4 of 24

this $20 million deficit, and cooperating with the Pennsylvania Economy League
as well as cooperating with city council, Mr. Courtright confronted the crisis,
thwarted bankruptcy, and returned the city to stability.

Described as making “considerable progress,” in the city, and becoming “the
closest it’s ever been to shedding,” the “financially distressed” label, the Scranton
Times-Tribune endorsed Mr. Courtright as “the better choice” in the 2017 election,
citing Mr. Courtright’s pay down of $40 million in debt.®

The Scranton Times-Tribune editorial board stated: “Courtright must be
credited with taking a systematic, orderly approach to dealing with the difficult
situation he inherited.’ Local television news anchor and commentator, Andy
Palumbo poignantly remarked: “my dealings with Bill Courtright were always
professional, cordial [ . . . ] he was there when he needed to be [ . . . ] and the city
didn’t go bankrupt on his watch.”*

Agreeing with the noticeable economic growth under the Courtright
administration, city residents re-elected Mr. Courtright for a second term in 2017.
During Mr. Courtright’s second term, the composite pension fund, which was

nearly broke in 2014 held assets worth $75 million with the potential to approach

 

‘https://www.governing.conytopics/finance/gov-scranton-recovery-fiscally-
distressed. html
T https://www.padems.com/scranton-times-tribune-courtright-mayor/

8 http://andypalumbo. blogspot.com/2019/07/sad-and-angry. html

4
 

Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 5 of 24

$100 million in 2018.’ With less pension debt, Mr. Courtright accomplished the
ability to dedicate more money to other areas of the city’s budget. For example,
seeking to reduce blight and encouraging development, Mr. Courtright initiated a
neighborhood walk-thru with police officers and members of the licensing and
inspection unit looking for blight issues, litter and any other code violations
throughout the city’s South Side, Hill Section, and West Side areas. In an
interview with Eyewitness News, Mr. Courtright acknowledged: “‘in the past there
was grants for what they called ‘saturation patrols’ and those grants aren’t around
so we’re taking it upon ourselves to do it ourselves to just make sure our
neighborhoods are up to par.” !°

It is without question, Scranton improved politically and financially under
Mr. Courtright’s discretion, strategy, and charge.

Nevertheless, despite sustaining progress in an overall improved financial
climate, and rendering innumerable nerve-racking decisions important to the city---
at what cost to Mr. Courtright’s personal susceptibility and sensibility.

While combating the hefty challenges of a distressed city, Mr. Courtright

feared financing re-election and maintaining a solid base of support. In an attempt

to build his personal and political network, situated inside a hotbed of political

 

https://advisornews.con/oarticle/scranton-pensions-on-path-to-financial-recovery
° https://housingalliancepa.org/scranton-police-and-inspectors-hit-the-streets-in-
the-fight-against-blight/

 

 
Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 6 of 24

corruption, weakened by high-handed alliances, and persuaded by wealthy
influentials, Mr. Courtright engaged in candid and casual quid pro quo
conversations throughout his time in office resulting in a three (3) — count
Information filed on July 1, 2019 for the following: conspiracy to (1) obstruct
commerce by extortion through the wrongful use of fear of economic harm in
violation of 18 U.S.C. § 1951(a); (2) obstruct commerce by extortion under color
of official right in violation of 18 U.S.C. § 1951(a); (3) bribery concerning
programs receiving federal funds in violation of 18 U.S.C. § 666(a)(1)(B),
occurring between February 1, 2014 and January 9, 2019 in violation of 18 U.S.C.
§ 371; attempt to obstruct commerce by extortion under color of official nght on
January 4, 2018, in violation of 18 U.S.C. 1951(a); and bribery concerning
programs receiving federal funds on November 17, 2017 in violation of 18 U.S.C.
§ 666(a)(1)(B).

Within a day of the filing of the Information, Mr. Courtright immediately
pled guilty pursuant to a plea agreement on July 2, 2019. Under the terms of the
plea agreement, the Government agreed to recommend a three (3) —level decrease
under the Sentencing Guidelines for acceptance of responsibility. Mr. Courtright
agreed to the forfeiture of assets totaling $36, 705.00 as well as payment of
restitution in full. Importantly, Mr. Courtright resigned from his position as mayor

on July 1, 2019.
 

 

 

Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 7 of 24

Accordingly, the presentence report places Mr. Courtright in criminal history
category I, and assigned him a total offense level of forty (40). Based on these
computations, the suggested guideline range for Mr. Courtright’s offenses is two
hundred and ninety-two (292) months- three hundred and sixty-five (365) months
imprisonment, which is effectively a life sentence for a sixty-two (62) year old.
Mr. Courtright submits that such a sentence would substantially exceed a
“sufficient, but not greater than necessary,” sentencing standard, and contradict the
purposes of sentencing pursuant to 18 U.S.C. § 3553(a). As such, Mr. Courtright
respectfully requests that this Court impose a below-guideline sentence.

IL.

Under the Sentencing Guidelines, a district court identifies the base offense
level assigned to the crime in question, adjusts the level as the Guidelines instruct,
and determines the defendant's criminal history category. See U.S.S.G. § 1B1.1.
Coordinating the adjusted offense level and criminal history category yields the
appropriate sentencing range. Jd. Thus, at sentencing the district court must
engage in a three (3) step inquiry. First, the district court must calculate the
applicable guideline range. Second, the district court must determine basis for
departure, and if departure is warranted, the affects of departure on Guideline

calculation. Finally, after considering all factors in accordance with 18 U.S.C. §

3553(a), impose appropriate sentence, which may vary from the guideline range.
Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 8 of 24

See United States v. Levinson, 543 F.3d 190, 195 (3d Cir. 2008)(citing United
States v. Wise, 515 F.3d 207, 216-217(3d Cir. 2008)(citing Gall v. United States,

552 U.S. 38, 49, 128 S. Ct. 586, 596-597, 169 L.Ed. 2d 445 (2007) and United

 

States v. Gunter, 462 F.3d 237, 247 (3d Cir. 2006)).

Guideline Calculation

Mr. Courtright objects to the probation office’s failure to deduct a total of
three (3) levels for his timely acceptance of responsibility. See U.S.S.G. §§
3E1.1(a) and (b). Furthermore, the written plea agreement in paragraph 11 refers
to Mr. Courtright’s acceptance of responsibility and states: “if the defendant can
adequately demonstrate recognition and affirmative acceptance of responsibility to
the Government, as requires by the Sentencing Guidelines, the Government wil/
recommend that the defendant receive a three-level reduction in the defendant’s
offense level for acceptance of responsibility.”

On July 1, 2019, the Government filed a three-count Information against Mr.
Courtright, and within a day, Mr. Courtright timely appeared before the Honorable
Chief Judge Christopher C. Conner to plead guilty to all three counts. In fact,
paragraph 2 of the pre-sentence investigation report states: “pled guilty to all
counts pursuant to a plea agreement whereby the government will recommend a

three-level reduction for acceptance of responsibility.”
 

 

 

Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 9 of 24

During the pre-sentence interview, Mr. Courtright adopted the facts as
placed on the record at the guilty plead hearing.
The application note under U.S.S.G. §§ 3E1.1 states:

(A)truthfully admitting the conduct comprising the
offense(s) of conviction, and truthfully admitting or not
falsely denying any additional relevant conduct for which
the defendant is accountable under § 1B1.3 (Relevant
Conduct). Note that a defendant is not required to volunteer,
or affirmatively admit, relevant conduct beyond the offense
of conviction in order to obtain a reduction under subsection
(a). A defendant may remain silent in respect to relevant
conduct beyond the offense of conviction without affecting
his ability to obtain a reduction under this subsection. A
defendant who falsely denies, or frivolously contests,
relevant conduct that the court determines to be true has
acted in a manner inconsistent with acceptance of
responsibility, but the fact that a defendant's challenge is
unsuccessful does not necessarily establish that it was either
a false denial or frivolous;

(F)voluntary resignation from the office or position held
during the commission of the offense;

(H) the timeliness of the defendant's conduct in manifesting
the acceptance of responsibility.

Mr. Courtright clearly demonstrated an acceptance of responsibility for his
criminal conduct. He timely pled guilty within a day of the filing of an
Information so as to avoid the Government preparing for trial and so as to allocate
their resources efficiently. He resigned from office the same day that the

Government filed an Information. He also agreed to forfeiture. Mr. Courtright
Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 10 of 24

did not falsely deny any additional relevant conduct, nor did Mr. Courtright engage
in any conduct inconsistent with such acceptance of responsibility. Mr. Courtright
cooperated with the Government and did not provide any false statements. Mr.
Courtright has shown contrition for the crime he has committed. Moreover, Mr.
Courtright’s initial objections to the pre-sentence investigative report did not vary
significantly from the factual basis recited at his plea hearing and the conduct
deemed admitted in the pre-sentence investigative report.

Mr. Courtright did not contest the facts of his conviction, only the legal
significance of the amount of benefit received, and whether that amount triggered
an applicable sentencing enhancement. Finally, Mr. Courtright’s objections to the
applicable sentencing enhancements were not false or frivolous.

18 U.S.C, § 3553(a) Factors

In the present matter, application of the statutory sentencing factors require a
downward variance be granted, and that a guideline sentence is not necessary to
satisfy the statutory objectives. A guideline sentence is overly punitive. This
Court “shall impose a sentence sufficient, but not greater than necessary,” to
adhere to the purposes articulated in 18 U.S.C. § 3553(a). See 18 U.S.C. §
3553(a). To that end, a court’s evaluation and application of section 3553(a)
factors is accorded “high deference.” See United States v. Bungar, 478 F.3d 540,

543 (3d Cir. 2007); United States v. Cooper, 437 F.3d 324, 330 (3d. Cir. 2006);

10
 

Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 11 of 24

United States v. Tomko, 562 F.3d 558, 565 (3d Cir. 2009), citing United States v.
Koon, 518 U.S. 81, 98, 116 S. Ct. 2035, 2045, 135 L.Ed. 2d 392
(1996)(recognizing the deference owed to a district judge who is in the best
position to decide the issue in question). The court may depart from an otherwise
applicable guideline range whenever the court finds “that there exists an
aggravating or mitigating circumstances of a kind, or to a degree, not adequately
taken into consideration by the Sentencing Commission.” 18 U.S.C. § 3553(b).
Moreover, imposition of sentence requires the court to act upon evidence
that is logical and consistent with the factors set forth in section 3553(a). See
Cooper, 437 F.3d at 330.

In the present case, the record “sufficiently supports the factual basis

underlying [ .. . ] departure, and the degree of departure is reasonable.” United

 

States v. Koon, 518 U.S. 81, 98, 116 S. Ct. 2035, 2045, 135 L.Ed. 2d 392 (1996).
Having due regard for the purposes set forth in 18 U.S.C. § 3553(a), and for
the relationship of the sentence imposed to sentences prescribed by the guidelines,
applicable to similar offenses and offenders, and to the applicable policy
statements of the Sentencing Commission, this Court is required to impose an
appropriate sentence consistent with the following considerations. See 18 U.S.C. §

3553(a).

 

11

 
Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 12 of 24

a. The nature and circumstances of the offense and the history
and characteristics of the Defendant.

As the Supreme Court reminds us, “[i]t has been uniform and constant in the
federal judicial tradition for the sentencing judge to consider every convicted
person as an individual and every case as a unique study in the human failings that
sometimes mitigate, sometimes magnify, the crime and punishment to ensue.”
Koon, 518 U.S. at 113, 116 S.Ct. 2035.

Prior to being elected the mayor of Scranton, Mr. Courtright had no criminal
history, and had always been gainfully employed in managerial positions. As a
productive citizen, Mr. Courtright became the sole proprietor of Summit Karate
earning his eighth degree in Tang Soo Do, which is a Korean martial art that places
emphasis on mental and physical fitness. For over thirty-six (36) years, Mr.
Courtright operated Summit Karate to train others in Tang Soo Do. Holding an
eighth- degree black belt, which is one of the highest ranks in Tang Soo Do, Mr.
Courtright became a grand master. Mr. Courtright continued to teach and mentor
his students while training municipal police officers at Lackawanna Community
College. Even as mayor, Mr. Courtright continued his involvement with the karate
school. He became a positive influence to hundreds of students; youths and
municipal police officers alike. At the beginning of his political career, Mr.
Courtright helped the city to gain positive momentum as a city council member.

He led the public safety commission and received an appointment to the

12
 

 

 

Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 13 of 24

Pennsylvania Municipal Police Officers Education and Training Commission. In
addition, while tax collector, Mr. Courtright supervised eighteen (18) employees
and discovered additional unused revenue distributable to the city. In this role, Mr.
Courtright maintained control over money and financial transactions without
incident.

On this history alone, it is apparent that Mr. Courtright’s conduct, which led
to the Government’s filing of an Information, represents a clear deviation from a
law-abiding life.

In the present case, Mr. Courtright, admits to the conduct recited at the
guilty plea hearing, and is remorseful for the casual and candid conversations that
occurred. Mr. Courtright requests that this Court consider his offense conduct in
relation to the $20 million dollar deficit and financial turmoil the city suffered, as
well as the challenges he overcame to establish economic growth for the city.

Scranton’s financial turmoil ripened a quid pro quo political culture,
weakening Mr. Courtright’s sensibilities. Notwithstanding, Mr. Courtright’s
history and characteristics reflect a sixty- two (62) year old, who has had no

contact with the justice system and has demonstrated conduct otherwise

exemplified by a modest upbringing, steady employment, solid ties to the
: community and law enforcement, professional accolades, and familial

relationships. All of these factors are permissible departure factors and are

13
Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 14 of 24

adequately supported in the record to justify a downward variance. Finally, since
Mr. Courtright’s guilty plea in 2019, he has maintained scrupulous compliance
with the conditions of his release on personal recognizance.

b. The need for the sentence imposed to reflect the seriousness of
the offense, to promote respect for the law, and to provide just
punishment for the offense.

This Court has wide discretion to impose a sentence that is sufficient but not
greater than necessary to effectuate the purposes of section 3553(a). See United
States v. Booker, 543 U.S. 220, 125 S. Ct. 738, 160 L.Ed. 2d 621 (2005). A
sentencing court may grant a variance where the defendant’s crime is based upon
aberrant conduct in an otherwise upstanding life. See United States v. Howe, 543
F.3d 128, 132-4 (3d. Cir. 2008); See also United States y. Tomko, 562 F.3d 558,
571 (3d. Cir. 2010)(affirming district court’s variance that took into account
defendant’s negligible criminal history, employment record, community ties, and
extensive charitable works).

In the present case, Mr. Courtright requests downward departure because the
benefit received overstates Mr. Courtright’s criminality. A sentence within the
guideline range is not necessary to accomplish statutory objectives. Such a
sentence is effectively a life sentence. Mr. Courtright submits that his conduct as

recited at the guilty plea hearing does not involve such a complex scheme of

scenarios as observed in United States v. Spencer, and United States v. Pawlowski.

14
 

 

 

Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 15 of 24

In Spencer, the Government proved three distinct schemes, with overt acts
that included overruling decisions by evaluation committees, manipulating the
bidding processes, assisting with underbidding competitors, and devising and
ensuring the repeal of a code of ethics section. A jury convicted the former mayor
of nine (9) counts of bribery, and one (1) count of wire fraud, and one (1) count of
conspiracy. The court sentenced the former mayor to eight (8) years.

Moreover in Pawlowski, the mayor of Pennsylvania’s third-most populous
city, the Government proved on an even larger scale, at least forty offenses which
included overt acts of (1) steering five different contracts worth millions and
thousands to specific companies; (2) soliciting bribes for favorable intervention in
at least ten (10) different contracts or private ventures; and (3) rigging the
contracting process and victimizing businesses who competed fairly. Over the
\|| course of a six (6) week trial, the Government proved at least eight (8) different
: ‘schemes with pending contracts and/or commencing wholly unnecessary contracts,
| manipulating zoning uses, utilizing “burner” cell-phones for concealment, wiping
'|. electronic devices, overruling the city’s contracting and engineer staff to award
contracts, and outsourcing the city’s contracting to political operatives.

All schemes that evidenced the mayor as an unabashed, self-serving
| mastermind and ambitious manipulator, who planned to become a U.S. Senator by

2016. Moreover, the schemes involved several other officials who were either

15
Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 16 of 24

convicted as co-conspirators or entered into agreements. The former mayor shifted
the blame for his misconduct, citing that he was not aware his campaign staffers
and city employees were involved in a pay to play scheme. Pawlowski made
breaking the law a standard operating procedure. He became sophisticated in
concealment, having his office swept for listening devices, having his electronic
devices wiped, and writing dollar figures on paper to hand to vendors to prevent
recordings, conversing with co-conspirators outdoors and in elevators.

Ultimately, the court sentenced the former mayor to fifteen (15) years, which
is considerably less compared to the instant overstated guideline sentence of two-
hundred and ninety (292) — three hundred and sixty-five (365) months in the
present case.

The Government described the impact of Pawlowski’s actions as
“widespread.” Mr. Courtright’s actions can hardly be described as having a
widespread. Here, Mr. Courtright primarily engaged in one scheme accepting quid
pro quo cash exchanges from John P. Rodgers, president of Northeast Revenue
Services. Mr. Courtright engaged in quid pro quo cash exchanges directly and
indirectly to maintain an ongoing contract that begin years before Mr. Courtright

entered office. !' For obvious reasons, the contract endured. Additionally, Mr.

 

1 Distinctly, Pawlowski, solicited bribes from Northeast Revenue while a request
for proposals (RFP) was pending for the delinquent real estate tax contract. On
December 18, 2013, the mayor directed Sean Kilkenny, a representative of

16
 

 

 

 

 

Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 17 of 24

Courtright engaged in conduct wherein he received lawn care, home repairs, and
renovations at his karate school as quid pro quo exchanges for favorable licensing
actions in a pending development project. Lastly, Mr. Courtright temporarily
halted licensing actions on a private development project seeking a quid pro quo
cash exchange.

This conduct does not rise to the level of the intricate, pervasive, and
obstructive schemes utilized by Spencer or Pawlowski nor is Mr. Courtright
singularly the mastermind behind the quid pro quo schemes. Mr. Courtright’s
conduct is distinguishable and lacks the pervasiveness and breadth of Spencer, and
Pawlowski. Both cases proceeded to lengthy jury trials wherein the Government
proved that the former mayors frustrated and manipulated the “contracting
process.”

Mr. Courtright did not manipulate or rig bids, he did not override or overrule
city engineering staff to award contracts, he did not manipulate zoning use, did not
seek the repeal of an ethics code nor did he utilize a burner cell-phone to carry out

his conduct. Mr. Courtright did not misuse city funds to line his pockets or his

 

Northeast Revenue to make a $25,000 campaign contribution. The mayor also
solicited Philadelphia Eagles playoff game tickets, from Northeast Revenue as well
as a Del Frisco’s Steakhouse meal. After receiving both the tickets and the meal,
the mayor directed the city’s finance director to ensure that the contract be awarded
to Northeast Revenue, ignoring all qualifications and evaluation procedures
outlined in Allentown’s RFP process, and defrauding two other competitors
Lindebarger Goggin and Portnoff Law Associates by rigging the process.

17
Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 18 of 24

family. Also, Mr. Courtright did not involve other officials in his actions. Mr.
Courtright did not seek tickets to exclusive sporting events or lavish dinners.

Unlike Pawlowski, Mr. Courtright admitted responsibility and did not shift
the blame on his employees or staffers. Pawlowski sold his influence for greed,
whereas Mr. Courtright sought influence. Mr. Courtright allowed himself to
succumb to that end, albeit an improper avenue- consigning with high-handed
alliances for influence. Finally, Mr. Courtright did not seek to thwart investigation
or prosecution like Pawlowski.

Ultimately, Mr. Courtright has no prior criminal record or substance abuse
problems, he does not present a danger to the public, he is not likely to reoffend,
has strong family support as well as a solid employment history, and this resonates
with a sentence less than the guideline range coupled with the imposition of
substantial restitution and a fine. At the very least, resonates with a sentence less
than the fifteen (15) year sentence imposed in Pawlowski.

c. The need for the sentence imposed to afford adequate
deterrence to criminal conduct and to protect the public from
further crimes of the Defendant.

Mr. Courtright is particularly deterred by the consequences of his actions.
The collateral consequences of Mr. Courtright’s prosecution and conviction
include: over one (1) year of legal proceedings, legal fees, personal financial loss,

the loss of his proprietorship, the loss of elected office, public shame, humiliation,

18
 

Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 19 of 24

loss of standing within the community as well as the above-cited criminal
convictions that will follow Mr. Courtright for the rest of his life. Most
importantly, Mr. Courtright will forfeit assets as set forth in the Forfeiture
allegation of the Information.

Further, as a result of Mr. Courtright’s actions, his family suffers financial
and emotional hardship. He is involved in his children’s lives as well as his
grandchildren’s lives. A long term of incarceration would be a life sentence and
cause extreme hardship to his family unit.

d. The need for the sentence imposed to provide the Defendant
with needed educational or vocational training, medical care,
or other correctional treatment in the most effective manner.

Mr. Courtright respectfully submits that he does not require additional
educational or vocational training, medical care, or other vocational treatment. Mr.
Courtright held several managerial positions as well as sole proprietor of his karate
school, Summit Karate.

Medically, Mr. Courtright occasionally suffers gout and is prescribed

Celebrex. He ingests a low dose of aspirin daily.

Mr. Courtright does not suffer from any mental health diagnoses. As result,

 

Mr. Courtright does not require treatment.

Mr. Courtright does not consume illicit drugs and does not require treatment.

On July 2, 2019 Mr. Courtright submitted a negative drug screen.

19

 

|
'
Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 20 of 24

e. The need for the sentence imposed to consider the kinds of
sentences available, the sentencing range established by the
properly calculated Guidelines, and to avoid unwarranted
sentencing disparities.

In July 2019, the Government filed a three (3) — count Information against
Mr. Courtright for Conspiracy: (1) Obstruct Commerce by Extortion Through the
Wrongful Use of Fear and Economic Harm; (2) Obstruct Commerce by Extortion
Under Color of Official Right, and (3) Bribery Concerning Programs Receiving
Federal Funds in violation of 18 U.S.C. § 371, Attempt to Obstruct Commerce by
Extortion Under Color of Official Right, in violation of 18 U.S.C. § 1951(a), and
Bribery Concerning Programs Receiving Federal Funds in violation of 18 U.S.C. §
666(a)(1)(B). Mr. Courtright pled guilty to the Information pursuant to a written
plea agreement on July 2, 2019. Accordingly, on Count I: Conspiracy, 18 U.S.C. §
371, the statutory maximum is five (5) years imprisonment and a $250,000 fine;
Count II: Attempt to Obstruct by Extortion Under Color of Official Right, 18
U.S.C. § 1951(a), the statutory maximum is twenty (20) years imprisonment anda
$250,000 fine; Count III: Bribery Concerning Programs Receiving Federal Funds,
18 U.S.C. § 666(a(1)(B), the statutory maximum is ten (10) years imprisonment
and a $250,000 fine.

With regards to the applicable Guideline range, Mr. Courtright’s offense

level was computed with the 2018 Guidelines Manual. Because Mr. Courtright

objects to the probation office’s failure to include a three (3) level deduction, the

20
 

 

 

Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 21 of 24

precise level remains unresolved. Nonetheless, without reference to Mr.
Courtright’s objection argued above, the base total offense level listed in the
presentence report is forty (40). Mr. Courtright’s criminal history category is I and
thus the applicable Guideline imprisonment range is two hundred and ninety-two
(292) months — three hundred and sixty- five (365) months imprisonment,
effectively a life sentence.

This Court should consider that the Guidelines overstate Mr. Courtright’s
conduct. As explained above, Mr. Courtright’s case does not involve the breadth
of schemes observed in Spencer and Pawlowski. Importantly, Mr. Courtright
made the necessary adjustments to avoid bankruptcy for Scranton. Mr. Courtright
immediately admitted guilt and did not proceed to a lengthy trial as in Spencer or
Pawlowski. Notably, Mr. Courtright acknowledged responsibility and did not
blame others for his actions.

Mr. Courtright’s underlying conduct when viewed alongside that usually
prosecuted under each statute and when viewed alongside the context of the
financially distressed city does not warrant a guideline sentence. Charged with
leading the city out of financial crisis, Mr. Courtright economically enhanced and
sustained the city with $20 million in deficit bringing tremendous change and
| benefit to the Scranton area. Unlike the cities in Spencer and Pawlowski, Scranton

| improved significantly. Mr. Courtright committed the offenses amidst financial

21
Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 22 of 24

tension weakened by the magnitude of his obligations in office. This reduced
rational capacity coupled with high-handed alliances contributed substantially to
the commission of the offenses. Mr. Courtright did not selfishly enrich his personal
lifestyle. He resides in the same residence for twenty- seven (27) years. Mr.
Courtright did not vacation lavishly or attend exclusive sporting events and
expensive dinners as observed in Spencer and Pawlowski. Mr. Courtright had no
coconspirators. Mr. Courtright’s sentence should be commensurate to his conduct,
which is not equal to the extent or egregiousness of other corrupt mayor cases, and
at the very least warrants a sentence less than fifteen (15) years. Mr. Courtright
respectfully requests that this Court account for several important considerations
distinguishing one defendant from another under the guidelines, such as number of
bribes, disruption of governmental function and the nature of the conduct as a
metric to impose an appropriate sentence. See United States v. Parker, 462 F.3d
273 (3d. Cir. 2006)(the court should ensure sentencing consistency). Simply put,
Mr. Courtright’s conduct is less extensive than Pawlowski, and devoid of any
obstructive qualities. Mr. Courtright did not disrupt an entire city process or
corrode all city functions.

WHEREFORE, pursuant to the United States Sentencing Guidelines and 18
U.S.C. § 3553(a), under the circumstances of this case, Mr. Courtright respectfully

requests this Court to issue a sentence cognizant of the foregoing and permit a

22
 

 

 

Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 23 of 24

reasonable downward departure, as the guideline range is a life sentence and

represents an unwise sentencing policy.

Respectfully submitted,

 

PAUL J. WALKER, ESQ.
204 Wyoming Avenue
Scranton, PA 18503

ATTORNEY FOR DEFENDANT,
WILLIAM L. COURTRIGHT

DATE:

 

23
Case 3:19-cr-00208-MEM Document 48 Filed 09/29/20 Page 24 of 24

CERTIFICATE OF SERVICE

I, , HEREBY certify that a true and

 

correct copy of the foregoing Sentencing Memorandum was served upon the
following counsel and the United States Probation Office by hand delivery on this

day of , 2020.

Michelle Olshefski

United States Attorney’s Office
William J. Nealon Federal Building
P.O. Box 309

235 North Washington Avenue
Scranton, PA 18501

Michael A. Consiglio

United States Attorney’s Office
Federal Building, Suite 220
228 Walnut Street

Harrisburg, PA 17108

 

PAUL J. WALKER, ESQUIRE
204 Wyoming Avenue
Scranton, PA 18503

24
